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AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                      (For Offenses Committed On or After November 1, 1987)
                          v.
                  RAY JAN KORNFELD                                    Case Number: 2:12CR00362-03
                                                                      Defendant's Attorney: Malcolm Segal, Retained

THE DEFENDANT:
     pleaded guilty to count(s) 1 of the Superseding Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                         Date Offense         Count
Title & Section                       Nature Of Offense
                                                                                                         Concluded            Number
18 U.S.C. § 371                       Conspiracy (CLASS D FELONY)                                        08/20/2013           1

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
     Count 2-12 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                              Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.
                                                                     2/19/2015
                                                                     Date of Imposition of Judgment




                                                                     Signature of Judicial Officer
                                                                     Troy L. Nunley, United States District Judge
                                                                     Name & Title of Judicial Officer
                                                                     2/24/2015
                                                                     Date
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AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:RAY JAN KORNFELD                                                                                                      Page 2 of 6
CASE NUMBER:2:12CR00362-03

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
60 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated at Lompoc Prison Camp in California, but only insofar as this
      accords with security classification and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2:00 PM on 5/15/2015 .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:RAY JAN KORNFELD                                                                                                       Page 3 of 6
CASE NUMBER:2:12CR00362-03

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
36 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:RAY JAN KORNFELD                                                                                                         Page 4 of 6
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                                         SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
3.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
         anticipated or unexpected financial gains to any unpaid restitution ordered by the Judgment.
4.       The defendant shall provide the probation officer with access to any requested financial information.
5.       The defendant shall not open additional lines of credit without the approval of the probation officer.
6.       The defendant shall cooperate with the Bankruptcy Trustee in the determination and payment of any monies owed.
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AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:RAY JAN KORNFELD                                                                                                        Page 5 of 6
CASE NUMBER:2:12CR00362-03

                                              CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                   Assessment                        Fine                       Restitution
         TOTALS                                     $100.00                         $Waived                    $3,094,245.04
      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
SEE ATTACHED.                                             $3,094,245.04                $3,094,245.04
Totals                                                     $3,094,245.04               $3,094,245.04
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the             fine      restitution

             The interest requirement for the            fine       restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:RAY JAN KORNFELD                                                                                                          Page 6 of 6
CASE NUMBER:2:12CR00362-03

                                                     SCHEDULE OF PAYMENTS
        Payment of the total fine and other criminal monetary penalties shall be due as follows:

A.               Lump sum payment of $             due immediately, balance due
                       Not later than      , or
                       in accordance          C,       D,      E,or       F below; or
B.               Payment to begin immediately (may be combined with               C,      D,    or    F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release will commence within     (e.g. 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at that
                 time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate:Restitution in the amount of $3,094,245.04 shall be paid joint and serveral with Co-
Defendants Alan David Tikal in Docket No. 2:12CR00362-01, and Tamara Teresa Tikal in Docket No. 2:12CR00362-02.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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HOMEOWNER DEPOSITS INTO ACCOUNTS HELD BY PC'S AND THE TIKAL
       (September 1, 2010, 2010 thru August 23, 2013)
                      Excluding Cash

      Payor Last Name / Source              First Name          Total

 Abbot                             William                $        1,000.00
 Brewer                            A L or Su Chih         $        1,100.00
 Ball                              Aaron & Lori           $        1,500.00
 Navarro                           Abel                   $        2,500.00
 Hernandez                         Abel Juarez            $        4,134.36
 Chavez                            Adan                   $        1,530.58
 Garcia                            Adan & Victoria        $        7,171.47
 Madrid                            Adelaida               $        1,500.00
 Tumaneng                          Adelaida               $       15,761.47
 Reyes                             Adolfo                 $        2,376.92
 Yanez                             Adolfo                 $        1,813.12
 Casanas                           Adolfo Jr.             $        2,500.00
 Andrade                           Adrian                 $        2,134.98
 Talavera                          Adriana                $        1,100.00
 Bakht                             Agha                   $        6,108.80
 Venegaz                           Agostino               $        1,000.00
 Ruiz                              Agueda                 $        9,728.02
 Venegas                           Agustine               $        1,020.24
 Delgado                           Aida                   $        1,500.00
 Gentile                           Alan & Sheryl          $          500.00
 Lopez                             Alberto                $        3,312.30
 Fajarod                           Alberto & Remedios     $        2,772.33
 Valadez                           Alberto & Sharon       $        3,323.50
 Zepeda                            Alejandro              $       16,035.98
 Cantoran                          Alejandro              $        2,043.51
 Pevtson                           Alex                   $        1,500.00
 Shkolnikov                        Alexander              $        1,500.00
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Camacho            Alfonso                $       7,704.88
Soto               Alfonso                $       1,500.00
Belton             Alfredo                $       1,200.00
Solis              Alfredo & Jenny        $      15,161.87
Rivera             Ali                    $       1,448.74
Baeza              Alica                  $       1,200.00
Cobebjo            Alicia                 $       1,200.00
Schiappa‐Gobee     Alisa M                $      21,457.32
Beauchaine         Allan N.               $      11,843.42
Gaona              Alma                   $       2,612.00
Santos             Amalia                 $       1,200.00
Singh              Amarjeet               $       1,500.00
Ipapo              Amor & Jaime           $       1,500.00
Houtchens          Amy M.                 $       1,000.00
Saymoy Eng         Amylea                 $      22,221.14
Alvarez            Ana                    $       9,849.35
Krueger            Ana                    $       5,218.36
Garcia             Ana & Angel            $       2,500.00
Vargas             Ana & Daniel           $      12,080.78
Zavala             Ana Lucila             $      10,350.78
Luque              Ana Luz                $       2,283.68
Santos Aguas       Anabelle               $       2,500.00
Martinez           Anasacio               $       1,500.00
Torres             Anastacio              $       2,143.64
Borrell            Andrea & Ryan          $       1,500.00
Venegas            Andres                 $       6,366.42
Martinez           Andres & Elsa          $       6,436.95
Lopez              Angel                  $       5,000.00
Melendez           Angel                  $       1,091.22
Ranchos            Angel                  $       1,200.00
Pablo              Angelita               $       1,100.00
Palolo             Angelita               $          90.00
Martinez           Angelita               $       2,700.00
Duran              Angie                  $         350.00
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Wong / Castro               Anna / Aleli           $       1,500.00
Acevedo                     Antonio                $       1,500.00
Barrios                     Antonio                $       1,200.76
Lopez                       Antonio                $         243.43
Luevano                     Antonio                $       2,148.44
Ordenana                    Antonio                $       2,124.05
Rodriguez                   Antonio                $       1,500.00
Sandoval                    Antonio                $       1,925.00
Barrios & Torres‐Valdez     Antonio & Brenda       $         327.28
Onsurez                     Antonio & Liliana      $       2,112.52
Ayala                       Antonio & Lorena       $       1,500.00
Escajeda                    Antonio & Rosa         $      13,350.85
Lopez / Zamora              Antonio / Maria        $       2,885.06
Gevorkian                   Aram                   $       3,237.16
Martinez                    Ariya                  $       1,100.00
Mejorado                    Arlene                 $       2,000.00
Cosio                       Armando & Adelina      $       4,714.52
Escobar                     Armando & Adelina      $      23,131.87
Salazar                     Armando & Griselda     $       4,463.64
Ramos                       Armando & Ritzi        $       1,500.00
Rossano                     Armando & Rosa Maria   $       3,937.50
Espinoza                    Armel                  $       4,582.92
Cruz                        Arnel                  $       1,500.00
Quiroga                     Arnoldo                $       1,136.68
Alanis                      Arturo                 $       1,508.55
Mrianda                     Arturo                 $          78.32
Solis                       Arturo                 $       1,500.00
Gutierrez                   Arturo & Cristina      $       2,500.00
Miranda                     Arturo & Norma         $       2,118.16
Escobar                     Astrea                 $       4,462.40
Garcia                      Atilano                $         293.62
Barahona                    Aura & Marco           $       2,047.89
Valdiva / Carpio            Aurora / Martin        $      21,967.68
Martinez                    Avelino                $       1,500.00
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Martinez               Avelino                $        1,500.00
Cordoba                Ayda M                 $        8,454.00
Elwin                  Aztrid                 $        1,100.00
Koml                   Baljit                 $        2,500.00
Equihua                Baltazar               $       14,308.48
Clevenger              Barbara                $        5,410.04
Markham                Barbara & Donald       $        1,000.00
Wilson                 Barry & Sylvia         $        1,200.00
De La Torre Pena       Beatriz                $        1,200.00
Garcia                 Beatriz                $        2,000.00
Gonzalez / Miranda     Beatriz / Divina       $        3,686.88
Tuazon                 Benigno                $        2,500.00
Gonzales               Benito                 $        1,500.00
Rosales                Benito                 $        1,822.09
Majan                  Benjamin               $        1,500.00
Morales                Benjamin               $        1,200.00
Aparicio               Benjamin & Donila      $       20,394.99
Venegas                Bernarda               $          350.00
Buttler                Bernardo               $        1,200.00
Salto                  Bernito                $        1,272.09
Lui                    Betsy                  $        2,500.00
Damon                  Betty                  $        4,000.00
Campbell               Bill & Patty           $        2,500.00
Aguirre                Blanca                 $        1,200.00
Rivera‐Letrado         Blanca                 $        1,100.00
Nereyda                Blandon                $          500.00
Cagigas                Bonnie & John          $       10,124.16
Hampton                Bradlet                $          500.00
Becker Sr.             Bradley                $        2,406.24
Clark                  Brenda Parham          $        3,905.12
Palaruan               Brigida                $           90.00
Gurden                 Bryan                  $        2,000.00
Kane                   Bryan                  $        3,500.00
Stone                  Bryan                  $          500.00
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Bogosian        Bryan & Sheri          $        5,500.00
Woodman         Byron                  $        2,700.00
SNK389, LLC     C/O SNK Horizon        $        1,500.00
Becerra         Calvin                 $        1,432.70
Duarte          Camelia                $          984.24
Gonzales        Camelia                $          775.40
Merriam         Cammi & Joseph         $        2,261.38
Blunt           Carl                   $          500.00
Alba            Carlos                 $        1,100.00
Carranza        Carlos                 $       17,462.93
Castellanos     Carlos                 $        3,842.85
Cortez          Carlos                 $        2,829.33
Ferlini         Carlos                 $        2,375.00
Santos          Carlos                 $       18,390.75
Barragan        Carlos & Beatriz       $        1,500.00
Contreras       Carlos & Mayra         $        5,422.39
Beltran         Carmen                 $        1,200.00
Martinez        Carmen                 $        1,399.13
Consuelto       Carneceria             $        1,500.00
Turk            Carol                  $        7,935.54
Mangrum         Carolyn                $        1,500.00
Ayala           Catalino               $        3,062.82
Soto            Catarino Barajas       $        1,500.00
Buchanan        Cathy                  $        5,800.66
Cuevas          Cecilia                $        1,500.00
Libreros        Cecilia                $        2,066.73
Morris          Celia                  $        3,275.00
Suratos         Celso & Merydith       $        2,000.00
Mendoza         Cesar                  $        1,100.00
Trujillo        Cesar & Julia          $        2,872.91
Davis           Charles                $          500.00
Delano          Charles & Laura        $        2,456.03
Farlow          Charles & Myrleen      $        1,581.09
Durago          Charles & Rosenah      $        1,100.00
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Salandanan             Charlton & Slisha            $    2,500.00
Farmer                 Cheryl                       $      636.39
Grandaw                Cheryl A.                    $      135.00
Juelke                 Chris & April                $    1,000.00
Lopez                  Christian L.                 $   13,725.98
Barba                  Christina                    $    1,100.00
Davidson               Christine                    $    1,500.00
Bonilla                Christono & Rosa             $    2,450.00
Van Diep               Chuong                       $    2,500.00
Vargas                 Cibreano                     $    2,500.00
George                 Cindy & Michael              $   27,263.28
Aguilar                Cipriano Hernandez           $    1,500.00
Wren                   Clara                        $       90.00
Sanchez                Clara or Santiago            $    1,500.00
Benetiz                Claudia                      $    2,000.00
Morales                Claudia                      $      500.00
Paul                   Claudia                      $    2,500.00
Ventura                Claudia                      $    1,500.00
                       Clifford & Joanne Nelson ‐
Nelson                 Metzger                      $     500.00
Walker                 Clifton & Walda              $   2,996.12
Donley                 Connie                       $   1,500.00
Corpuz                 Conrado                      $      90.00
Garcia                 Consuelo                     $     440.43
Parham                 Consuelo                     $   1,090.00
Zermeno                Consuelo                     $   1,500.00
Sandoval               Crescencio                   $   1,000.00
Mandujano              Cresencio                    $   3,500.00
Garcia                 Cristina                     $   2,068.22
Lopez                  Cristobal                    $   1,986.36
Flores                 Daniel                       $   1,641.24
Martinez               Daniel                       $   1,500.00
Jacabo / Suastegui     Daniel & Karina              $   2,500.00
Garza                  Daniel & Maria Elena         $   3,917.17
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Ochoa / Castillo     Daniel / Monica        $        3,896.08
Ordonez              Danilo L.              $        3,657.09
Sanchez              Darlene                $        3,124.14
Buckner              Darren W.              $        1,086.64
Ruble                Darrin & Glenda        $        2,974.86
Gomez                David                  $        1,100.00
Harper               David                  $        1,264.14
Hernandez            David                  $        4,717.68
Jones                David                  $          305.62
Loo                  David                  $        4,000.00
Woodson              David                  $        1,500.00
Olais                David & Dorothy        $        1,500.00
Manoat               David & Leah           $       23,885.12
Boross               David & Pamela         $        1,875.95
Dang                 David Hoang            $        2,500.00
Porter               Dean                   $        2,994.36
Lucas                Debbie & Christian     $        1,500.00
Gilliam              Debra J.               $        3,000.00
Guillen              Delia                  $        1,780.36
Hernandez            Demetria & Luciano     $        2,500.00
Robles               Demetrio               $        1,500.00
Gonzales             Denise                 $        2,000.00
Loken Stanton        Denise                 $       32,390.90
Basia / Laurente     Denn & Alexander       $        1,500.00
Terpstra             Dennis & Karen         $        1,500.00
Cardoway             Diana                  $        1,500.00
Cardoway             Diana                  $        1,500.00
Trujillo             Diego & Mery           $        3,995.00
Cantrup              Dieter                 $        1,500.00
Espinosa             Dilia                  $        2,816.76
Cruz                 Dinah D.               $        4,165.00
Bambico              Dixie                  $        1,500.00
Ignacio              Dominador              $           90.00
Senot                Dominador & Grace      $        8,802.88
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Barry                         Donna                  $        4,357.20
Rodriguez De Rivas            Dora                   $        2,500.00
Melendez                      Doris                  $        1,200.00
Berry                         Dorothy                $       11,395.00
Villalobos                    Dunia                  $        2,488.01
Southerland                   Dwight                 $          500.00
Barragan                      Edelmira & Fructoso    $        2,005.00
Cortes                        Edgardo                $          449.71
Leon                          Edgardo                $        3,300.00
Becerra & Beltran             Edin & Carmen          $          237.49
Wallace                       Edmond                 $        1,500.00
Vasquez                       Eduardo                $        1,100.00
Najjar                        Edward                 $        4,000.00
Regalado                      Edy                    $        3,701.57
Suratos                       Elaine & Glynn         $        1,500.00
Malunoy                       Elanor and Mario       $        1,000.00
Quintero                      Elba                   $        2,154.12
Machen                        Eldridge & Karen       $          500.00
Ingal                         Elena Pening           $        1,972.68
Ramirez Ocampo                Elia                   $        2,500.00
Camacho                       Elias                  $        1,500.00
Estrada                       Elisa                  $       15,516.61
Torres                        Elisa                  $        1,500.00
Perez                         Eliseo Lopez           $        1,500.00
Valdovinos                    Elizabeth              $        2,000.00
Zyla                          Elizabeth              $        1,500.00
Perez                         Ellas Ochoa            $        1,500.00
Clarke                        Elmer                  $       10,721.28
Montano                       Elmer L.               $        3,200.00
Antonio                       Eloy                   $        2,484.27
Najera‐Mozo & Quiroz‐Ruiz     Elvira & Lucio         $        5,947.38
Mozo                          Elvira Najera          $        1,100.00
Castenada                     Emery                  $        2,000.00
Zafra                         Emmanuel L.            $        3,391.32
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Flores              Enrique                $        2,000.00
Martinez            Enrique                $        1,406.61
Pena                Enrique                $        2,500.00
Torres & Muro       Enrique & Elvia        $        1,802.72
Mobley              Eric                   $       17,165.36
Tomalak             Eric & Holly           $        1,073.57
Kam                 Ernest                 $        1,500.00
Domanico            Ernest & Kathryn       $        3,000.00
Guzman              Ernesto                $        2,500.00
Andaya              Esmirelda & Cesar      $        4,677.44
Diaz                Esperanza              $        1,100.00
Luna                Esperanza              $        1,320.68
Merino              Estaban                $       21,122.80
Delgadillo          Estanislao             $        1,500.00
Graciolett          Esther & Gloria        $        1,500.00
Martinez            Eufracia               $        2,000.00
Breckenridge        Eugene                 $        2,500.00
Ibarra              Eulises                $        2,000.00
Hernandez           Eutimo & Lydia         $        6,117.20
Sjouwke             Evelyn C.              $        1,500.00
Figueroa            Ezequiel & Maria       $        6,761.84
Wang                Fah                    $        4,000.00
Cahoon              Farmer                 $        2,000.00
Cardenas            Federico               $          981.82
Alvarado            Felicita B.            $        1,500.00
Eguilos             Felicito & Feliciana   $        6,523.52
Castellanos         Felipe (Leopoldo)      $        2,409.87
Legaspi Barreno     Felisa                 $        1,200.00
Moreno              Felix                  $        1,100.00
Montero             Fermin                 $        1,500.00
Tiburcio            Fernando               $        2,000.00
Guzman              Fernando & Maria       $        6,495.00
Orozco              Fernando Alvarez       $        1,500.00
Tampa               Fidel                  $        2,233.73
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Santillan Jr.      Filepe & Anabel        $        3,236.46
Ortega             Flor                   $        1,500.00
Lorento / Cruz     Floro / Armie          $        2,500.00
Queiada            Frances                $        1,200.00
Shults             Frances                $        2,815.01
Ingegneri          Francisca              $        2,500.00
Dolores            Francisco              $        2,500.00
Lugo               Francisco              $        8,244.10
Morales            Francisco              $        2,201.97
Uribe              Francisco              $       11,008.64
Villalba           Francisco              $        3,003.24
Jiminez            Francisco & Maria      $        1,500.00
Villalta           Francissco             $          902.00
Prado              Frank & Rita           $        3,753.04
Barragai           Fructuso               $        1,100.00
Garcia             Gabriel                $        3,329.62
Maldonado          Gabriel                $        2,000.00
Alvarez            Gabriel T.             $        1,100.00
Kiong Li           Gao                    $        1,500.00
Keeton             Gary                   $        1,897.58
Sates              Gary                   $        1,000.00
Stroh              Gary                   $       10,533.23
Goetz              Gary or Peggy          $        1,270.00
Bridgewater        Gary S.                $          192.08
Sanchez            Genaro                 $        3,015.27
Marquez            Genevieve              $        2,000.00
Craig              George                 $          500.00
Sammons            George                 $        2,681.40
Gonzales           Georgina               $        1,500.00
Garcia             Gerald                 $        1,500.00
Contreras          Gerardo                $        3,931.25
Pineda             Gerardo                $        2,500.00
Rodriguez          Gerardo                $        3,500.00
Blackwell          Gerg                   $        2,500.00
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Rendez                Gilbert                $         750.00
Resendez              Gilbert                $       4,313.52
Castanon              Gilberto               $       2,500.00
Betancourt            Gladys                 $       2,000.00
Sanchez & Naranjo     Gladys & Johnny        $       1,200.00
Clark                 Gloria                 $       1,500.00
Martinez              Gloria                 $       1,500.00
Carey                 Gloria & Patrick       $       1,500.00
Vidrio                Gloria B.              $       2,738.60
Borja                 Gonzalo                $       6,156.66
Bravo                 Gonzalo                $       1,500.00
Ramos                 Gonzalo                $       1,500.00
Vivian                Gordon D               $       2,000.00
Chavez                Graciela Pulido        $       2,000.00
McBride               Gregory & Concetta     $       1,500.00
Klazura               Gregory & Lynda        $       1,000.00
Carrillo              Guadalupe              $       2,788.24
Cruz                  Guadalupe              $       2,000.00
Portillo              Guadalupe              $       2,000.00
Sanchez               Guadalupe              $       1,500.00
Soltero               Guadalupe              $         679.06
Hua                   Guan Gui               $       1,922.73
Schmidt               Guillermo              $       1,500.00
Arroyo                Gustavo                $       1,500.00
Diaz                  Gustavo                $       1,100.00
Li                    Hanxi                  $       2,500.00
Mainusch              Harald & Laura         $       7,840.70
Sidhu                 Harpal & Daljeet       $       2,700.00
Agonoy                Harry & Erlinda        $       1,100.00
Pulliam               Harvey JR              $       2,500.00
Koenig                Heather                $       1,500.00
Beltran               Hector                 $       1,086.67
Carrillo              Hector                 $       6,623.54
Gonzales              Hector                 $       4,000.00
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Iniguez               Hector                 $        2,500.00
Martinez              Hector                 $        3,013.48
Pena                  Hector                 $        1,500.00
Villegas              Hector                 $          586.78
Bethel                Heidel                 $        5,000.00
Lobstein              Heidi                  $        6,541.36
Castellanos           Henry                  $          750.02
Co                    Henry                  $        1,000.00
Patino                Henry                  $       19,077.44
Gullingsrud           Herb & Carol           $       13,803.64
Beasley / Newman      Herbert / Barbara      $       10,323.80
Lopez / Cervantes     Herlindo / Edith       $        8,229.62
Castillo              Hermina Chavez         $        1,500.00
Elarca                Hilda                  $        1,100.00
Dolores               Honorato & Miriam      $        6,781.56
Vahanyan              Hratch & Knarik        $        1,499.66
Torres                Humbel                 $        1,192.94
Ayala                 Humberto               $          393.08
Cabrales              Humberto               $        3,868.12
Ayala / Varela        Humberto / Teresa      $          196.54
Hernandez             Ignacio                $        2,807.44
Buttler               Ilsy                   $        2,100.00
Ramirez‐Martinez      Imber                  $        8,536.96
Perez                 Inocencio              $          458.08
Perez Jr.             Inocencio              $        2,798.48
Marron                Irene                  $        1,500.00
Moreno                Irma                   $        2,805.00
Navarro               Irma                   $        1,100.00
Cruz                  Irma Navarro           $        1,510.08
Santos                Isaac                  $        1,500.00
Ayala                 Isabel                 $        2,638.77
Duran                 Isabel                 $        2,170.32
Hollingsworth         Isabel S.              $        1,170.00
Palomares             Ismael                 $        9,198.86
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Contreras               Italo                  $        4,307.15
Zacarias / Paniagua     Itzgueri & Gabriel     $        1,100.00
Gonzalez                J.M.                   $        1,767.87
Obsuna                  Jacinto                $        1,680.88
Jones                   Jacqueline             $        1,500.00
Gaon Jr.                Jaime                  $        4,000.00
Hernandez               Jaime                  $        8,103.49
Jiminez                 Jaime                  $        5,000.00
Menzel                  Jaime & Imelda         $        2,385.62
Gonzalez                Jaime Diaz             $        2,000.00
Burnett                 James                  $        2,000.00
Christiansen            James                  $        1,200.00
Halverson               James                  $        2,093.54
Soto                    James                  $        1,100.00
Reese                   James & Dana           $        3,000.00
Montes, Jr.             James Oswaldo          $        1,000.00
Bansal                  Janak                  $        2,500.00
Starets                 Jane                   $          500.00
Sergeant                Janice & Thomas        $        1,530.25
Leon                    Javier & Maria         $       15,679.36
Salazar / Mota          Javier/Juana           $        3,042.24
Kile                    Jean Arlene B          $        2,500.00
Harris                  Jeanette               $       11,733.00
Van Marter              Jeff                   $        3,584.27
Varrella                Jeffrey                $        2,500.00
Grothaus                Jennifer               $        1,260.93
Hernandez               Jennifer               $          666.16
Sweet                   Jennifer               $        1,200.00
Barrios                 Jensser                $          818.81
Chhun                   Jeremy                 $       25,192.72
Ramirez                 Jeromino & Norma       $        5,791.78
Payne                   Jerry                  $        1,749.33
Edwards                 Jessica                $          368.21
Lacaba                  Jessica                $        2,500.00
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Detrinidod     Jessika                $       16,436.40
Samuel         Jessy & Ninan          $       10,263.33
Duran          Jesus                  $        2,000.00
Lara           Jesus                  $        2,880.79
Lebantino      Jesus                  $        1,500.00
Ponce          Jesus                  $          725.00
Chavez         Jesus & Donna          $        6,417.84
Carabajal      Jesus & Elda           $        2,561.82
Lopez          Jesus & Irma           $        5,998.27
Wilson         Joanne                 $        1,100.00
Da Silva       Joe                    $        1,500.00
Ortega         Joe & Marie            $        1,500.00
Fang           Joe & Jenny            $        5,700.00
Martinez       Joe P.                 $        6,742.20
Nguyen         Joe P.                 $        2,000.00
Langdon        John                   $        2,500.00
Duran          John & Angie           $       17,369.92
Remington      John & Dawn            $          500.00
Conroy         John & Kathleen        $        1,000.00
Lingbanan      Johnny                 $        1,200.00
Lingbanan      Johnny & Victoria      $        2,231.58
Jobe           Jonathan               $        1,500.00
Caceres        Jorge                  $        1,500.00
Javier         Jorge                  $       15,765.69
Machorro       Jorge                  $        1,100.00
Martinez       Jorge                  $          335.86
Sanchez        Jorge                  $        2,000.00
Alvarez        Jose                   $        2,304.00
Ayala          Jose                   $        1,786.26
Barrios        Jose                   $          100.00
Campoy         Jose                   $        1,500.00
Campuzano      Jose                   $        1,500.00
Cardeus        Jose                   $        3,000.00
Castillo       Jose                   $        1,367.37
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Cervantes            Jose                   $        1,500.00
Chavez               Jose                   $        1,000.00
Diaz                 Jose                   $        2,553.12
Escalera             Jose                   $        1,500.00
Garcia               Jose                   $        3,190.87
Hernandez            Jose                   $        1,100.00
Lavala               Jose                   $        1,100.00
Libra                Jose                   $        1,200.00
Liera                Jose                   $          827.68
Maximo               Jose                   $        5,085.90
Moreno               Jose                   $        1,391.78
Orellana             Jose                   $        3,981.09
Parra                Jose                   $          350.00
Perez                Jose                   $        1,100.00
Perez                Jose                   $        1,391.65
Ramirez              Jose                   $        3,000.00
Rendon               Jose                   $        3,242.97
Rivera               Jose                   $        3,000.00
Sandoval             Jose                   $        1,500.00
Villalon             Jose                   $        1,000.00
Buendia              Jose                   $        1,500.00
Bernal               Jose & Carmen          $        3,000.00
Gonzales             Jose & Jacinta         $        1,500.00
Barajas              Jose & Maria           $       28,544.36
Escajeda (Rojas)     Jose & Maria           $        1,500.00
Hernandez            Jose & Melania         $        2,327.39
Fullencio            Jose & Teresa          $        1,989.18
Nadurille            Jose Javier            $        1,500.00
Vasquez              Jose Luis              $        1,500.00
Ruiz                 Jose Luis              $        3,437.88
Ramos                Josefina               $        3,290.42
Livorsi, Jr.         Joseph                 $          500.00
Barajas              Joseph & Iris          $        3,131.24
Beierly              Joseph & Susan         $        2,500.00
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Alvarez              Juan                   $        1,500.00
Ayala                Juan                   $        1,200.00
Bonilla              Juan                   $        2,479.29
Camacho              Juan                   $        1,500.00
Macias               Juan                   $        1,100.00
Piceno               Juan                   $        1,500.00
Torres               Juan                   $        2,000.00
Elvenano             Juan                   $          405.00
Ocampo               Juan & Cristina        $        3,403.08
Guzman               Juan & Gloria          $        2,500.00
Luevano              Juan & Maria           $        8,815.60
Lopez / Alba         Juan / Carlos          $        2,159.60
Vargas               Juan Carlos            $        2,500.00
Andrade              Juan Jose              $        1,500.00
De La Cruz           Juan Jose              $       20,183.04
Hernandez            Juan Manuel            $        2,500.00
Dominguez            Juan R                 $        4,416.39
Duarte               Juana                  $          911.64
Carvajal             Juana / Javier         $        1,982.20
Casteneda            Juana O.               $        2,500.00
Friedman             Judy                   $          135.00
Carter               Judy & MK              $        5,000.00
Gallardo             Julian                 $        1,584.93
Sioxson              Julian                 $        2,500.00
Gwinn                Julie                  $        2,500.00
Riedel               Julie & John           $        1,200.00
Creer                Julieta B.             $        1,675.00
Lima                 Julio                  $        2,500.00
Mares‐Andazola       Julio                  $        1,100.00
Mares & Sandoval     Julio & Mirian         $        2,610.93
Garcia               Julio & Nancy          $        3,074.96
Sarang               Kamaljeet              $        2,400.00
Fenbert              Katy & Tim             $          500.00
Webb                 Kelly                  $        2,500.00
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Escobedo               Kelly Abuer            $        1,200.00
Feliciano              Ken                    $        1,050.00
Bowman                 Kenneth                $        2,105.50
Little                 Kenneth and Lia        $        3,496.16
Collins                Kevin                  $        2,000.00
Devine                 Kevin                  $        3,286.73
Owens                  Kevin                  $        1,500.00
Hiew                   Kevin & Sally          $        2,995.00
Jaramillo              Keyla                  $        1,685.20
Silversear             Kikuyo                 $        2,431.24
Truong and Lee Mai     Kim & Hung             $        1,500.00
Magana                 Kosa Munoz             $        9,323.28
Bates                  Kristina & Gary        $        3,000.00
Singh                  Lakhninder             $        4,499.99
Phai                   Lan                    $        1,100.00
Mead                   Lance & Paige          $       12,627.02
Howard                 Lara                   $        6,876.88
Juvenal                Lara                   $        1,500.00
Shirova                Larisa                 $        1,500.00
Paschel                Latishia               $          662.76
Bombach / Vasquez      Laurence / Ernest      $        2,700.00
Thompson               Lavell                 $        2,000.00
Martinez               Leadisminda            $        2,500.00
Roman                  Leah & Hilario         $        7,874.98
Maldonado              Leo                    $        1,500.00
Chan                   Leo and Sylvia         $        1,500.00
Reyes                  Leobardo               $        1,500.00
Gutierrez              Leonardo               $        1,200.00
Rivera                 Leopoldo               $          964.26
Phillips               Lesley                 $        4,084.70
Black                  Leslie                 $          500.00
Nguyen                 Leslie                 $        1,500.00
Fernandez              Leyne                  $        1,100.00
Zeng                   Li Chan                $        1,500.00
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Ramirez         Librado                $        1,200.00
Munoz           Lilia                  $        5,500.00
De La Torre     Liliana                $        2,000.00
Hamid           Lina & Mujeeb          $          500.00
Stafford        Linda                  $        1,200.00
Zhao            Linna                  $        1,000.00
Tikhova         Liudmila               $        4,000.00
Manaoat         Lolita & Rogelio       $       23,709.75
Olivera         Lorenzo                $        1,955.73
Castro          Loreto & Maricris      $        1,500.00
Martinez        Lori                   $        2,500.00
Gidda           Lorna                  $        1,500.00
Meier           Lorrie                 $        1,500.00
Galdamez        Louis & Elizabeth      $        2,266.76
Kovach          Louis & Karen          $        1,200.00
Cervantes       Lourdes                $        1,500.00
Kennedy         LT & Christine         $        1,500.00
Suprun          Lubov                  $        1,500.00
Gorospe         Lucio                  $        2,500.00
Barocio         Luis                   $        1,500.00
Duran           Luis                   $        2,000.00
Franco          Luis                   $        2,500.00
Gomez           Luis                   $        3,151.39
Macias          Luis                   $        1,000.00
Padilla         Luis                   $          500.00
Mejia           Luis Angel Padilla     $        8,065.16
Lopez           Luis E                 $        2,200.00
Anaya           Luis JR.               $        1,500.00
Rabut           Luis JR.               $           90.00
Rabut           Luis JR.               $           90.00
Vahanyan        Lusine                 $          300.00
Magan           Lynda                  $        1,100.00
McCloskey       Lynn & John            $        5,662.44
Wadwha          Lynn & Sunil           $        2,500.00
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Lyek            Lysiri                 $        1,500.00
Martinez        Magda                  $        4,611.61
Fuentes         Magdalena              $        4,086.67
Martinez        Magdalena              $          350.00
Masadeh         Mahmoud                $          680.00
Cantu           Manuel                 $        5,119.58
Comes           Manuel                 $        1,100.00
Ortegon         Manuel                 $        1,840.28
Sandoval        Manuel                 $        1,788.91
Tirado          Manuel                 $        1,100.00
Vargas          Manuel                 $        1,500.00
Echeverria      Manuel & Ma. Ester     $        1,500.00
Morosco         Manuel & Miriam        $        2,009.26
Delgado         Manuel & Sonya         $        3,400.04
Torres          Manuel & Sonya         $        3,245.86
O'Brien         Marcelina              $       11,674.58
Milian          Marcelino              $        1,200.00
Clark           Marcella               $        5,375.00
Flores          Marcos                 $        2,122.40
Kaczkowski      Margaret M             $        1,500.00
Collin          Margareta              $        5,456.81
West            Margarita              $        1,100.00
Del Rosario     Margie                 $        1,500.00
Deselms         Marguerite             $        4,018.36
Bedolla         Maria                  $        1,100.00
Bucio           Maria                  $        2,121.56
Calvan          Maria                  $        1,500.00
Capati          Maria                  $        2,000.00
Cazares         Maria                  $        7,639.82
Davalos         Maria                  $        1,500.00
De Rojas        Maria                  $          953.22
Del Carmen      Maria                  $        1,500.00
Duran           Maria                  $        9,222.60
Fox             Maria                  $        1,082.72
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Fuentes                   Maria                  $       6,310.08
Kejia                     Maria                  $       1,619.25
Mejia                     Maria                  $       6,665.38
Nejia                     Maria                  $       1,005.82
Ochoa De Rojas            Maria                  $       1,100.00
Reyer                     Maria                  $       1,200.00
Reyes                     Maria                  $       2,241.87
Reynoso                   Maria                  $       1,500.00
Rubio                     Maria                  $       6,843.12
Vasquez                   Maria                  $       1,500.00
Sarmiento                 Maria                  $       4,758.45
Passarelli                Maria & Alejandro      $       2,300.00
Maldonado / Hernandez     Maria / Ofelia M       $       4,589.35
Prieto                    Maria A.               $       2,000.00
Garcia                    Maria and Oscar        $       1,100.00
Franco                    Maria Angelina         $       6,000.00
Dominguez                 Maria Elba             $       1,500.00
Pbanito                   Maria Elema            $       1,100.00
Permito                   Maria Elena            $       1,500.00
Diaz                      Maria Teresa           $       5,996.21
Escobar                   Marie Irene            $       2,500.00
Jimenez                   Mariela                $       2,302.59
Jiminez                   Marielu                $       1,535.06
Mercado                   Marietta               $       5,500.00
Shieh                     Marilu                 $       4,188.68
Campos                    Marina                 $       2,860.61
Guerra                    Mario                  $       1,500.88
Santamaria                Mario                  $         350.00
Santamaria                Mario                  $       2,000.00
Santamaria                Mario & Carmella       $       3,430.92
De La Vega                Marisol & Michael      $       3,810.28
Courchesne                Marjory                $       1,200.00
Courchesne                Marjory                $       6,398.35
Berry                     Mark & Dayna           $       1,000.00
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Tabak / Panattoni      Mark & Debra           $       2,000.00
Jukanovich             Marko                  $       2,500.00
Jones                  Marsha                 $       1,375.29
Huanosto               Marta                  $       1,500.00
Navaro                 Martha                 $       1,500.00
Vega                   Martha                 $       2,149.83
Arvizu                 Martha                 $       3,610.09
Marquez / Cornejo      Martha & Alicia        $       9,252.75
Zavala                 Martha & Alicia        $       2,829.60
Alvarez                Martin                 $       1,100.00
Padilla                Martin                 $       4,772.52
Lovelace               Marty                  $       2,635.60
Steele                 Mary‐Louise            $       1,500.00
Italia                 Maurizio               $       1,500.00
Flores                 Mauro                  $       1,500.00
Cazares                Mauro                  $       1,500.00
Tesfaye                Mehret                 $         500.00
Layug                  Melania & Jaime        $       2,834.78
Diamond                Melanie                $       1,200.00
Alexandre              Melanie & Jeffrey      $       2,000.00
Bone                   Melanie‐Aileen         $       1,500.00
Senot                  Melburga               $       7,119.40
Contildes              Melissa L.             $       1,500.00
Chapman                Melody                 $       1,500.00
Menda                  Melvin                 $       1,500.00
Salinas & Martinez     Merced & Ariya         $       9,882.16
Benzoli                Michael                $       2,500.00
Crocker                Michael                $       2,500.00
DeLaVega               Michael                $         665.99
Florendo               Michael                $       2,500.00
Lucas                  Michael                $       5,350.00
Nevyadomskiy           Michael                $       1,500.00
Stenlik                Michael                $       2,500.00
Majia                  Michael & Rosa         $       1,200.00
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Mejia         Michael & Rosa         $       1,453.44
Mulhall       Michael J.             $       1,000.00
Carrera       Miguel                 $       1,100.00
Lynch         Miguel                 $       1,500.00
Mora          Miguel                 $       1,500.00
Perez         Miguel                 $       1,339.28
Sandoval      Miguel                 $       2,500.00
Santiago      Miguel                 $       1,100.00
Segura        Miguel                 $       1,769.93
Mattingly     Mike                   $       2,500.00
Rocco         Mike A.                $       1,100.00
Lewis         Miranda & Phillip      $       1,000.00
Moscoso       Miriam                 $       1,200.00
Derkach       Miroslava              $       1,000.00
Villalta      Morena                 $       7,618.21
Vu            Myle                   $       9,407.56
Lu            Myliuen                $       2,500.00
Chavez        Mytna & Diana          $       1,500.00
Peebles       Nade                   $       1,500.00
Garcia        Nancy                  $       1,100.00
Lalwani       Naresh                 $         956.25
Lalwani       Naresh                 $       1,200.00
Elayyan       Nasil                  $       1,500.00
De Ortega     Natalia                $       4,500.00
Dergal        Natalya                $       1,500.00
Lenic         Natasa                 $       1,831.78
Pratt         Nathan                 $         500.00
Ranglar       Neil                   $       1,500.00
Narciso       Nelson                 $          90.00
Poms          Nelson                 $       2,500.00
Lavoiotis     Nicholas               $       2,500.00
Herrera       Noe                    $       1,500.00
Lizcano       Nohora                 $       1,500.00
Lopez         Norma                  $       3,000.00
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Suarez           Norma                  $          100.00
Suarez           Norma                  $          200.00
Suarez           Norma                  $        3,425.98
Landicho         Norma & Almeida        $        2,200.00
Madriaga         Norma & Dominador      $        2,608.38
Zamudio          Norma Olivia           $        3,282.64
Gallardo         Olga                   $        1,500.00
Torres           Olga                   $        2,995.00
Yamba            Olive                  $        2,500.00
Senot            Olivia                 $        2,531.36
Loya             Omar                   $        2,559.42
Patino           Omas                   $        1,500.00
Ramirez          Oninza                 $        1,100.00
Card             Opcion                 $        3,500.00
Ordonez          Oscar                  $          801.56
Trujillo         Oscar                  $        1,500.00
McDonald         Otha                   $        1,500.00
Talavera         Otilio                 $        1,305.58
Singh / Gill     Palvinder & Punit      $        3,515.42
Hibbard          Pamela                 $          500.00
Hernandez        Pana                   $        2,000.00
Johl             Parakgit               $        1,500.00
Pascual          Pat                    $        1,000.00
Chavez           Patricia               $        1,500.00
Cosio            Patricia               $        1,200.00
Macguire         Paul                   $        4,500.00
Panyanouvong     Paul                   $        1,500.00
Ordonez          Paula                  $          146.81
Perez            Paulina                $        2,000.00
Oregel           Pedro & Elvia Yepez    $          540.00
Nang             Peong                  $        2,500.00
Shin             Peter                  $       12,901.79
Wu               Peter                  $        1,290.62
Flores           Peter C.               $        1,500.00
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Tennant              Philip & Dosi          $        1,100.00
Yang                 Phosavanh              $        1,500.00
Phlek                Pisal & Sotheary       $        1,100.00
Galvan               Porfirio               $        1,500.00
Vargas               Prudencio Castaneda    $        1,500.00
Fry                  Quinten                $        2,500.00
Hang                 Quoc Dinh              $        2,000.00
Fahey                R.T.                   $        4,312.00
Escobar              Rafael                 $        5,690.53
Guzman               Rafael                 $       11,172.00
Heredia              Rafael                 $        1,200.00
Viramontes           Rafael                 $        1,100.00
Zarate               Rafael                 $        1,793.60
Alvarado             Rafael & Iris          $        1,500.00
Martinez             Rafafel Vazquez        $        4,287.92
Batra                Raj                    $        1,200.00
Batra                Raj & Preeti           $        3,200.00
Sandoval             Ralph                  $        2,200.00
Nassif               Rami                   $        6,900.00
Medina               Ramiro                 $        1,155.72
Zambrano             Ramiro                 $        1,500.00
Calderon             Ramona                 $        2,000.00
Hernandez            Ramona                 $        1,500.00
Gonzalez             Rapael                 $        1,100.00
Figueroa             Rapssel                $        3,706.10
Alvarez              Raul                   $        2,000.00
Gonzalez             Raul                   $          600.00
Lopez                Raul                   $        1,500.00
Sanchez              Raul                   $        2,500.00
Zamudio / Aragon     Raul / Maria           $        6,184.56
Jiminez              Raul V.                $        1,500.00
Arnaldo              Raulan                 $        1,500.00
Parmer               Ray L.                 $        1,500.00
Delarosa             Raymond                $        2,500.00
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Alexander         Rebecca                 $       1,318.50
Rock              Rebecca                 $         350.00
Dadon             Redentor                $       1,500.00
Parra             Rene                    $       7,729.47
Castro            Reni Mabel              $       1,550.00
Lopez             Ricardo                 $       1,500.00
Vega              Ricardo                 $       1,100.00
Cardenas          Ricardo & Laura         $       5,131.16
Magana            Ricardo & Lynda         $       4,645.59
Martinez          Ricardo Pavon           $       1,500.00
Brillantes        Richard                 $       1,500.00
Canales           Richard                 $       7,473.99
Lopez             Richard                 $       1,200.00
Lopez             Richard & Guadalupe     $       1,400.00
Chacker           Richard & Melody        $      12,012.66
Costa             Rick                    $       1,500.00
Rodriguez         Rigoberto               $       1,500.00
Contreras         Rigoberto & Nelly       $       1,500.00
Reynoso TTE       Robert                  $       4,000.00
Tognetti          Robert                  $       1,500.00
Holloway          Robert & Anita          $         500.00
Gausselin         Robert & Edna Matti     $       2,000.00
Metzger           Robert & JoAnn          $       1,000.00
Diaz              Roberto                 $       1,500.00
Vasquez           Roberto                 $       1,544.88
Veneros           Roberto                 $       6,145.42
Guzman            Roberto & Eva           $       3,342.72
Perri             Roberto and Francisco   $       2,500.00
Sapp              Robynne L.              $       6,302.54
Esteban           Roderick                $       1,100.00
Lopez‐Benitez     Rodolfo                 $       1,270.50
Valles            Rodolfo & Silvia        $       1,500.00
Bauzon            Roger & Edna            $       1,832.50
Quezon            Romeo & Angelita        $      11,304.24
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Sotto                Ronald                 $        2,500.00
Wiggins              Ronald K.              $       17,230.88
Hellweg              Ronna                  $        4,785.93
Qurflinger           Rooney                 $        1,500.00
Cruz                 Rosa                   $        2,500.00
Magara               Rosa                   $        1,200.00
Ocegueda             Rosa                   $        1,500.00
Rossana              Rosa                   $        1,200.00
Morales              Rosalba                $          578.00
Salazar              Rosalba                $        7,738.06
Martinez             Rosalie                $        2,500.00
Ocampo               Rosalva                $        3,272.64
Austin               Rose & Bruce           $        1,500.00
Chavez               Rosemary               $        1,760.03
Casino               Roy                    $          350.00
Williams             Roy                    $        1,100.00
Beehn                Roy & Virginia         $          500.00
Castillo             Roy M.                 $        1,500.00
Thibodeau            Russell                $        1,100.00
Zegana               Ruth                   $          348.74
Kliesch              Ryan                   $          500.00
Escajeda (Rojas)     Saic                   $          476.61
Bravo                Salvador               $        4,491.02
Flores               Salvador               $        1,200.00
Resendiz             Salvador               $        1,347.72
Huerta               Salvador & Lourdes     $        5,266.09
Perez                Salvador M.            $        1,500.00
Champaphonivilay     Sam                    $        1,500.00
Chim                 Sameth                 $        1,665.97
Cureton              Samuel                 $        1,200.00
Nguyen               Samuel                 $        1,000.00
Rodriguez            Samuel                 $        1,500.00
Lee                  Sanchalee              $        1,500.00
Bhandal              Sandeep Singh          $        1,500.00
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Lucas         Sandra                 $        3,000.00
Machuca       Sandra & Rosalio       $        2,500.00
Fang          Sang                   $        3,000.00
Aziz          Sartaz                 $        4,000.00
Uribe         Saul                   $        1,504.89
Puentes       Saul Duran             $        1,500.00
Cooper        Scott                  $        2,500.00
Evans         Scott                  $       19,668.98
Nguyen        Scott                  $        2,500.00
Phillips      Scott                  $        4,000.00
Lopez         Sebastian              $        3,000.00
Nuno          Sebastian              $       13,253.72
Khan          Seema                  $        1,500.00
Mercado       Selene                 $        2,000.00
De Diniz      Selia M De Oliveira    $        4,000.00
Schroth       Senaida & Ricardo      $        3,200.00
Espinoza      Sergio                 $        1,500.00
Hernandez     Sergio                 $        1,000.00
Vazquez       Sergio                 $        8,450.61
Rivera        Sergio Padilla         $        2,000.00
Sexton        Shelby                 $        1,500.00
Leung         Shirley                $        1,500.00
Villar        Shirley                $        1,100.00
Doe           Shirley Cupp           $        2,500.00
Chen          Shun                   $        2,500.00
Phommala      Sigayi                 $        1,500.00
Persino       Silva                  $          806.73
Robles        Silviano               $        1,880.96
Sok           Sithan Smith & Henry   $        1,500.00
Liv           Sokha                  $        1,500.00
Chavarin      Soledad                $        1,500.00
Velacruz      Soledad                $        2,500.00
Pereira       Sonia                  $        2,000.00
Len           Sophat                 $        1,500.00
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Samathadara       Soubanh                $        1,500.00
Tang              Srey                   $        4,338.69
Krafft            Stacy or Daniel        $        1,515.00
Tam               Stella                 $        4,000.00
Radford           Stephen                $          500.00
Zarini            Steve & Laura          $        1,518.66
Krizic            Steven                 $        1,500.00
Laub              Steven                 $          500.00
Valdespino        Steven                 $        2,500.00
Van Keulen        Steven                 $        2,500.00
Breck             Steven & Cynthia       $       29,830.72
Cadenasso         Sue                    $        1,200.00
Shabbar           Suhail & Suad          $           45.00
Hoang             Susan                  $        2,500.00
Javelosa          Susan                  $        1,000.00
Javelosa          Susan                  $        1,500.00
Parker            Susan                  $        1,100.00
Burges            Susan & Perry          $        1,200.00
Mitchell          Susanne                $        2,701.32
Tyshkevich        Svetlana               $        1,500.00
Baker             Taeko                  $        1,000.00
Woods‐Bellamy     Tameira                $        1,802.16
Contrares         Tanya                  $          750.00
Contreras         Tanya                  $        1,950.00
Hutto             Tara C.                $        1,000.00
Acevedo           Tatiana                $        1,200.00
Separate          Teodora M Canlas       $       28,962.05
Zamudio           Teresa                 $        1,500.00
Francisco         Teresa & Manuel        $       16,379.80
Mendoza           Teresa & Manuel        $        7,492.36
Dunn              Teresita               $        1,100.00
Gain              Teresita               $        2,598.56
Neumeyer          Terri                  $        2,500.00
Dousager          Thomas                 $       12,620.80
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McAlexander     Thomas                 $        2,000.00
Newman          Thomas                 $          500.00
Powe            Thomas                 $        2,600.00
Venable         Thomas & Brenda        $        2,000.00
Moran           Tiburcio               $        1,500.00
Phillips        Tim                    $        2,000.00
Newman          Tim E.                 $          500.00
Grier           Timothy                $        1,500.00
O'Reilly        Timothy                $        1,500.00
Ryals           Timothy                $          868.86
Schultz         Todd                   $        1,000.00
Wills           Tressa                 $        1,100.00
Le              Trung (Brandon)        $        1,500.00
Farias          unreadable             $        1,500.00
Marza           unreadable             $          500.00
Sam             Vannarom               $       15,458.20
Rubio           Veronica               $        8,048.51
Canovas         Vickee R.              $        3,000.00
Aleksandruk     Victor                 $        1,500.00
Lopez           Victor                 $        1,472.82
Mazariego       Victor                 $          863.99
Romero          Victor                 $        2,431.96
Chavez          Victor & Nancy         $        1,500.00
Chavez          Victor & Nancy         $        2,500.00
Velasquez       Victoria               $        1,100.00
Romano          Vincenza               $        2,500.00
Tsang           Viola                  $        1,500.00
Trang           Viola & Chi Yu         $        2,000.00
Wong Lum        Vivian                 $        1,500.00
Lozinski        Vladimir               $        2,500.00
Pavlov          Vladimir & Maria       $        2,000.00
Tandberg        W                      $        2,500.00
Chui            Wai M                  $        3,000.00
Lewis           Walter                 $        1,500.00
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Gilmore                  Wanda                   $       1,500.00
Morris                   Wayne                   $      12,050.00
Wang                     Wen Juan                $       1,000.00
Avelar                   Wendy                   $       3,811.73
Pipkins                  William & Helen Marie   $      17,552.48
Hazen                    William & Joyce         $          90.00
Thomas                   William & Pamela        $       2,815.85
Valenzuela / Montoya     William / Amada         $       1,167.70
Taylor                   William and Levita      $      17,187.92
Tamondong                Willie & Nancy          $       1,500.00
Pero                     Wynter C.               $       2,500.00
Shavlovsky               Yana                    $       1,500.00
Yeung                    Yee Ling                $       1,500.00
Sheh                     Yiren                   $       1,500.00
De La Torre              Yolanda                 $       3,304.14
Palmerin                 Yolanda                 $       1,500.00
Young                    Yolanda                 $       1,500.00
Shin                     Yong                    $       1,500.00
Guo                      Yong Xiang              $       2,000.00
Garcia                   Yovanella               $       1,500.00
Tsuei                    Yuhsheng                $       5,500.00
Suprun                   Yulia                   $       1,500.00
Ali                      Yusuf                   $       1,029.84
Hernandez                Yvette                  $       1,500.00
Jimenez                  Zacarias                $       1,500.00
Jahangiri                Zohreh                  $       1,500.00
Hursh Family Trust                               $       2,266.87

                                                 $   3,094,245.04
